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 5
                              UNITED STATES DISTRICT COURT
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
 7

 8    DINO CONSTANCE,
                                                    No. C15-5426 RBL-KLS
 9                                Petitioner,
             v.                                     ORDER ADOPTING REPORT AND
10                                                  RECOMMENDATION
      DONALD HOLBROOK,
11

12                                Respondent.

13         The Court, having reviewed the petition for writ of habeas corpus, the response, the

14   Report and Recommendation of Magistrate Judge Karen L. Strombom, objections to the Report
15
     and Recommendation, if any, and the remaining record, does hereby find and ORDER:
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           (1)    The Court adopts the Report and Recommendation.
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           (2)    The petition for writ of habeas corpus is DENIED and dismissed with prejudice.
18
           (3)    The issuance of a certificate of appealability is DENIED.
19

20         (4)    The Clerk is directed to send copies of this Order to Petitioner, counsel for
                  Respondent and to the Hon. Karen L. Strombom.
21

22         DATED this 1st day of September, 2016.

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24
                                                        A
                                                        Ronald B. Leighton
25                                                      United States District Judge

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     ORDER ADOPTING REPORT AND RECOMMENDATION - 1
